Case 6:12-cr-00002-LED-JKG           Document 50        Filed 05/30/12       Page 1 of 2 PageID #:
                                            103



                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION

UNITED STATES OF AMERICA                         §
                                                 §
V.                                               §                            CASE NO. 6:12CR2
                                                 §
HERVEY JIMENEZ-NAVARRO                           §



                ORDER ADOPTING THE REPORT AND RECOMMENDATION
                    OF THE UNITED STATES MAGISTRATE JUDGE


        The above-styled matter was referred to the Honorable Judith K. Guthrie, United States

Magistrate Judge, for administration of a guilty plea under Rule 11 of the Federal Rules of Criminal

Procedure. Judge Guthrie conducted a hearing in the form and manner prescribed by Federal Rule

of Criminal Procedure 11 and issued her Report and Recommendation (document #42) on May 2,

2012. Judge Guthrie recommended that the Court accept Defendant’s guilty plea and conditionally

approve the plea agreement. She further recommended that the Court finally adjudge Defendant as

guilty of Count 1 of the Indictment filed against Defendant in this cause.

        The parties have not objected to the magistrate judge’s findings. The Court is of the opinion

that the Report and Recommendation should be accepted. It is accordingly ORDERED that the

Report and Recommendation of the United States Magistrate Judge (document #42) is ADOPTED.

It is further




                                                -1-
Case 6:12-cr-00002-LED-JKG          Document 50       Filed 05/30/12     Page 2 of 2 PageID #:
                                           104




        ORDERED that the Defendant’s guilty plea is accepted and approved by the Court. Further,

the plea agreement is approved by the Court, conditioned upon a review of the presentence report.

It is finally

        ORDERED that, pursuant to the Defendant’s plea agreement, the Court finds the Defendant

GUILTY of Count 1 of the Indictment in the above-numbered cause and enters a JUDGMENT

OF GUILTY against the Defendant as to Count 1 of the Indictment.

        So ORDERED and SIGNED this 30th day of May, 2012.




                             __________________________________
                             LEONARD DAVIS
                             UNITED STATES DISTRICT JUDGE




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